   Case 3:22-cv-00675-JWD-EWD                    Document 1            09/23/22      Page 1 of 3




EJoerica Brown



name of plaintiffs)

versus

[Amesbury Management


name of defendants)




1. State the grounds for filing this case in Federal Court (include federal statutes and/or
       U. S. Constitutional provisions, if you know




                      IJoerica Brown                                       resides at
                 .5




         [18364 Leo CauseyRd^                     '-9
                                                        Prairieville
         street address                                            city
          [Ascension                             70769       1225-907-8903
                                         state zip code telephone number

         (if more than one plaintiff, provide the same information for each plaintiff below)




                       [Amesbury Managment I ,^
         Defendant, i' "••""""•^ ••—•"o"—- . -. - . ; lives at, or



                                       (400 Convention st. Suite 1050 i
         its business is located at


          Baton Rouge                     East
         city                                                                     state

          [70802 i J225-757-7111
         zip code telephone number
   Case 3:22-cv-00675-JWD-EWD              Document 1        09/23/22        Page 2 of 3


       (if more than one defendant, provide the same information for each defendant below)
     [Jessica Huffman and Thomas Kiggans of Phelps Dunbar LLP
     1400 Convention St. Suite 1100
     iBaton Rouge, LA 70802




       Statement of claim (State as briefly as possible the facts of your case. Describe how
       each defendant is involved. Include also the names of other persons involved, dates,
       and places. Be as specific as possible. You may use additional paper if necessary):
      iAmesbury Management violated my right to return back to work from maternity
      fleave. I have attached in more detail the reports.




       5. Prayers for Relief (list what you want the Court to
                    appoint a counsel
       a.     *   .__




       b.         iMotion to proceed without court fees and cost

       c.         Grant judgement to pay back wages

       d* [GranTjLKl^rne^—--^.—.^...—^


       I (we) hereby certify under penalty of perjury that the above petition is true to the best
of my (our) information, knowledge, and belief.

              !20                   day ofjsePtemb8r.
Signed this




                                              (signature of plaintiff (s))
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                                     MmDLE DISTRICT OF LOUISIANA
                                        OFFICE OF THE CLERK




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF LOUISIANA




                             GUIDE FOR RUNG FEDERAL CIVIL SUITS



ITEM                    REQUIREMENTS

SUMMONS AND             The original and one copy of the Complaint. One Summons for each defendant
COMPLAINT               to be served is required.


SIGNATURE               The Complaint must be signed. See Federal Rules Civil Procedure 11.
                        Counsel's name, complete address, telephone number aud party represented must
                        be typed on all pleadings. For pro se plaintiffs, the name, address and telephone
                        number of the plaintiff must be typed on the last page of the complaint.

SERVICE                 See Federal Rules of Civil Procedure 4.

COURT FEES              $402.00 cashier's check, law firm check or money order payable to U. S. Courts, or
                        VISA or Mastercard with Identification. No personal checks accepted. (Fee due
                        for each case. Fee due whether a suit is Complaint or Notice of Removal)




NOTE:                   A PRO SE LITIGANT HAS THE RESPONSIBILITY OF COMPLYING WITH
                        THE LOCAL RULES OF THIS COURT, THE FEDERAL RULES OF CIVIL
                        PROCEDURE, OR ANY OTHER OBLIGATIONS IMPOSED BY THE LAW.




        THIS OFFICE IS PROHIBITED BY LAW FROM GWING OUT LEGAL ADVICE.




        777 FLORIDA STREET, SUITE 139 j BATON ROUGE, LA 70801 | TELEPHONE 225-389-3500 | FAX 225-389-3501
